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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

HITACHI CONSUMER ELECTRONICS CO.,
LTD., and HITACHI ADVANCED DIGITAL,
INC.
                                                         CIVIL ACTION NO. 2:10-CV-260-JRG
                  Plaintiffs,

       v.

TOP VICTORY ELECTRONICS (TAIWAN)
CO. LTD., TPV INT’L (USA), INC.,
ENVISION PERIPHERALS, INC., TOP
VICTORY ELECTRONICS (FUJIAN) CO.
LTD., TPV ELECTRONICS (FUJIAN) CO.
LTD., TPV TECHNOLOGY LTD., and VIZIO,
INC.,

                  Defendants.



                                   ORDER OF DISMISSAL

       Before the Court is Plaintiffs Hitachi Consumer Electronics, Co., Ltd. and Hitachi
   .
Advanced Digital, Inc. and Defendant VIZIO Inc. (collectively “the parties”) Stipulated Motion

For Dismissal. The motion is GRANTED. Accordingly, it is hereby ORDERED that:

       1.      All claims, defenses and counterclaims in the above-captioned action between the

parties are hereby dismissed with prejudice.

       2.      Each party shall bear its own costs and attorneys’ fees.

       3.      This Court retains jurisdiction to enforce the parties’ Settlement Agreement.

       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 12th day of April, 2013.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
